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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS

SYMBOLOGY INNOVATIONS, LLC,
               Plaintiff,
                                                     Case No. 2:23-cv-473-JRG
       v.
DEXCOM, INC.,                                        JURY TRIAL DEMANDED
               Defendants.




            NOTICE OF COMPLIANCE WITH PATENT RULE 3-1 AND 3-2

       In accordance with the Order Governing Proceedings issued in this case, Plaintiff

Symbology files and serves this notification that today, January 4, 2024, Plaintiff has served its

Preliminary Infringement Contentions and otherwise complied with Patent Rule 3-1 and 3-2

against Dexcom, Inc. (“Defendant”).

       The expiration date of the Asserted Patent Claims is September 15, 2030.

       To the extent Defendant challenges either the priority date or the expiration date of any

Asserted Patent or of individual Asserted Claim, Plaintiff contends that any such challenge must

be raised with specificity contemporaneous with Defendant’s Invalidity Contentions. Given the

central importance of the priority date (the “date of invention”) to the issues of claim

construction and validity, Plaintiff will move to preclude any such argument or challenge not

timely raised. Again, Plaintiff notifies Defendant of the Court’s Standing Orders as it did

previously in a communication made on or about January 2, 2024, and even attached a copy

of the Court’s Standing Order Regarding Subject Matter Eligibility Contentions.

Dated: January 4, 2024
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                                                       Respectfully Submitted

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                                                       ATTORNEYS FOR PLAINTIFF


                                   Certificate of Service

I, Randall Garteiser, certify that this filing was served via counsel of record via the
Court’s ECF / Pacer system on January 4, 2024.


                                                       /s/ Randall Garteiser
                                                       Randall Garteiser
